                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

IN RE:                                                              CASE NO. 12-83138-JAC-7

SHARON S. HEINZ
SSN: xxx-xx-3220                                                    CHAPTER 7
Debtor.
                                                	  
                              Emergency Motion to Abandon Property

       Comes now, Creditors, Nick and Bonnie Lorraine Lioce (“Lioces”), and seek the trustee
to abandon certain property of the debtor Sharon S. Heinz under Rule 6007 and 11 USC § 554
as such property is of inconsequential value and benefit to the estate or otherwise burdensome to
the estate or for such other reasons as may be determined. Such property is namely the
Automobiles, trucks, trailers, and other vehicles and accessories disclosed by the debtor in her
personal property schedules as follows (Doc. #17 pg. 6):

Vehicle listed as disclosed                            Debtor’s Claimed Value

1996 Isuzu NPR Dump Truck                                    $3,000.00
1991 GMC 6500 Dump Truck (Doesn't Run)                       $2,000.00
2003 Lincoln Navigator (Doesn't Run)                         $500.00
2006 Ford F150                                               $2,500.00
2004 BMW 530i                                                $10,500.00
2002 Ford F250                                               $2,000.00

        Debtor claims no personal exemptions on these vehicles except the BMW. (Doc. #17 pg.
8, Doc. #29-1 pg. 15). Debtor claims Sam Whiteside as having a security agreement for the full
value of the BMW (Doc. #17 pg. 10). Considering the time and costs of liquidation, the vehicles
are of inconsequential value and benefit to the estate and should therefore be abandoned. The
Lioces request an expedited hearing on the same.

                                            Respectfully Submitted,

                                            /s/ Gregory H. Revera____________
                                            Gregory H. Revera
                                            M. Paul Killian
                                            Attorneys for Nick and Bonnie Lorraine Lioce

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                                CERTIFICATE OF SERVICE

       I, Gregory H. Revera, do hereby certify that I have this day served a copy of the
foregoing instrument, by placing copies of same in the U.S. Mail, postage prepaid and properly
addressed to the following:

Hon. Judith Thompson, Trustee
PO Box 18966
Huntsville, AL 35804

And to all Creditors listed on the Mailing Matrix as attached hereto.

       This the 27th of November, 2012.

                                             /s/ Gregory H. Revera____________
                                             Gregory H. Revera




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